    Case 2:15-cv-05346-CJC-E Document 469-37 Filed 12/10/20 Page 1 of 2 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33177




                         Exhibit 2-R
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment



              U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                         Exhibit 2R
                                                         White Decl. ISO Disney's SJ Motion P.0855
    Case 2:15-cv-05346-CJC-E Document 469-37 Filed 12/10/20 Page 2 of 2 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33178




                                                                                               Exhibit 2R
                                                               White Decl. ISO Disney's SJ Motion P.0856
